489 F.3d 614
    BOYD AND STEVENSON COAL COMPANY, Old Republic Insurance Company, Petitioners,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, Irene Slone; Virginia Property and Casualty Insurance Guaranty Association, Respondents.
    No. 02-1088.
    United States Court of Appeals, Fourth Circuit.
    Filed: June 8, 2007.
    
      Mark Elliott Solomons, Laura Metcoff Klaus, Greenberg &amp; Traurig, LLP, Washington, DC, for Petitioners.
      Michael Francis Blair, Penn, Stuart &amp; Eskridge, Abingdon, VA, United States Department of Labor Sasel Division, Helen Hart Cox, Office of Workers' Compensation Programs United States Department of Labor, Washington, DC, Joseph E. Wolfe, William Andrew Delph, Jr., Wolfe, Williams &amp; Rutherford, Norton, VA, for Respondents.
    
    ORDER
    
      1
      On May 13, 2006, we entered our opinion and order vacating the judgment of the Benefits Review Board and requiring the Board to enter its order designating Virginia Property and Casualty Insurance Guaranty Association (VPCIGA) as the insurer responsible for payment of Mrs. Slone's survivor's benefits in this case. The Board complied with that order, and on January 26, 2007 we entered our order making VPCIGA a party to this proceeding, ___ F.3d ___ (4th Cir.2007).
    
    
      2
      On November 23, 2005, the firm of Wolfe, Williams &amp; Rutherford filed its petition for attorney's fees and expenses for its representation of Irene Slone in this case, said petition being in the amount of $9,406.25 for fees and expenses.
    
    
      3
      We have received responses from all of the parties to our order making VPCIGA a party to this proceeding and are of opinion that VPCIGA is responsible for payment of the fees and expenses claimed by Wolfe, Williams &amp; Rutherford in this case. We are of opinion the fee request is reasonable, and we hereby allow payment of $9,375, which is the amount claimed by Wolfe, Williams &amp; Rutherford, less $131.25 for services of a legal assistant, which sum of $131.25 we hold is not a reimbursable expense.
    
    
      4
      It is further ADJUDGED and ORDERED that VPCIGA will see that the said sum of $9,375 is paid to Wolfe, Williams &amp; Rutherford without undue delay.
    
    
      5
      With the concurrences of Judge Wilkinson and Judge Niemeyer.
    
    